              Case 2:18-cr-00217-RSM Document 933 Filed 10/22/21 Page 1 of 1




 1                                                       The Honorable Chief Judge Ricardo S. Martinez
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                            UNITED STATES DISTRICT COURT FOR THE
 6
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8
 9     UNITED STATES OF AMERICA,                                  NO. CR18-217 RSM
10                             Plaintiff
                                                                  ORDER TO SEAL DOCUMENT
11
12                        v.
13     ROBERT TABARES
14                             Defendant.
15
16
             Having read the Government’s Motion to Seal and because of the sensitive
17
     information contained in the Exhibit A,
18
             It is hereby ORDERED that Exhibit A, shall remain sealed.
19
             DATED this 22nd day of October, 2021.
20
21
22                                                       A
                                                         RICARDO S. MARTINEZ
23                                                       CHIEF UNITED STATES DISTRICT JUDGE
24 Presented by:
25 s/Michael Lang
26 MICHAEL LANG
   Assistant United States Attorney
27
28
      Order to Seal Document                                                     UNITED STATES ATTORNEY
                                                                                700 STEWART STREET, SUITE 5220
      United States v. Robert Tabares CR18-217 RSM - 1
                                                                                  SEATTLE, WASHINGTON 98101
                                                                                        (206) 553-7970
